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                  UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   Case No. 2:20-MJ-2910
            Plaintiff
                                            ORDER CONDITIONALLY
      v.                                    APPOINTING COUNSEL FOR
                                            DEFENDANT

JOSE LUIS HUIZAR,
            Defendant.


      Upon review of Defendant’s July 14, 2020 financial affidavit and
related financial documents filed in camera with the Court under penalty of
perjury, the Court finds that at present Defendant’s “net financial resources
and income anticipated prior to trial are in excess of the amount needed to
provide the person and that person’s dependents with the necessities of life
and to provide the defendant’s release on bond, but are insufficient to pay
fully for retained counsel.” Guide to Jud. Policy, Vol. 7A, ch. 2, § 210.40.40.
Defendant is thus at present eligible for appointment of counsel under the
Criminal Justice Act, 18 U.S.C. § 3006A, subject to an order of contribution
from those excess funds towards attorneys’ fees and necessary defense
costs. See 18 U.S.C. § 3006A(f).
      Subject to this order of contribution, the Court appoints Carel Alé
and Charles Snyder from the Office of the Federal Public Defender to
represent Defendant in this case, effective as of the date of Defendant’s




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post-indictment arraignment (currently July 31, 2020) or August 3, 2020,
whichever occurs earlier. Retained counsel are not relieved by the Court
until that effective date of appointment.
      Starting August 2020, Defendant is ordered to make monthly
payments of $3,000 by no later than the 5th day of each month (or the
next business day if the 5th day falls on a weekend or court holiday) until
the final disposition of this case. The mandatory monthly payments must
be made in the form of a cashier’s check or money order, and they must be
received by the Clerk’s Office, as described below, by no later than the
10th day of each month (or the next business day if the 10th day falls on a
weekend or court holiday).
      This order is subject to reconsideration based on Defendant’s then-
present financial ability, including the ability to contribute greater or lesser
contribution amounts. Defendant must notify and submit to the Court an
updated financial affidavit—including bank statements for the preceding
three months—if at any time (1) he retains private counsel; (2) he secures
employment or restoration of any salary previously received; (3) any family
member transfers, directly or indirectly, funds that could be used to retain
qualified counsel; or (4) he receives any funds, assets, or gifts from any
source that would render Defendant fully ineligible for appointed counsel
or partially ineligible for appointed counsel without a change in
contribution amount.
      Counsel are reminded of their obligation to advise the Court of
changes in Defendant’s ability to pay. See Gen. Order 13-09, § IV.D.2. In
addition, the Office of the Federal Public Defender is ordered to maintain
contemporaneous monthly records of the number of hours worked for both
attorney and non-attorney time, as well as expenditures on expert witness


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fees or other litigation costs (such as hosting or review charges from the use
of ESI discovery platforms).
      Nothing in this order is intended to prevent the District Court at the
time of sentencing from ordering additional reimbursement to CJA
appropriation funds towards Defendant’s attorneys’ fees and defense
costs—beyond the monthly contributions ordered here—based on financial
information in the “presentence report” and “all other available data
bearing on the [Defendant’s] financial condition.” Guide to Jud. Policy,
Vol. 7A, ch. 2, § 210.40.30(d).
      All cashier’s checks or money orders must be made payable to:
CLERK, U.S. DISTRICT COURT and mailed or delivered to:
      United States District Court, Central District of California
      Attn: Fiscal Section
      255 East Temple Street, Suite TS-134
      Los Angeles, California 90012.

Defendant’s name and case number must be included on the cashier’s
check or money order.
      Failure to pay the required contribution amount may result
in an order finding contempt of court. The Fiscal Section of the
Clerk’s Office is ordered to notify the Court immediately if any monthly
contribution ordered here is unpaid or paid late.
      IT IS SO ORDERED.



Dated: July 24, 2020
                                    __________________
                                    STEVE KIM
                                    U.S. MAGISTRATE JUDGE

cc:   Fiscal; CJA; FPD; PSA

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